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 March 5, 2020

 FILED VIA ECF

 Honorable Kevin McNulty, U.S.D.J.
 Honorable Michael A. Hammer, U.S.M.J.
 United States District Court for the District of New Jersey
 Martin Luther King, Jr. Federal Building & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

       Re:   Juul Labs, Inc. v. 4X Pods et al., No. 2:18-cv-15444-KM-MAH

 Dear Judge McNulty and Judge Hammer:

       On behalf of Defendants in the above-referenced action, please accept this
 correspondence as their response to Plaintiff’s letter submitted earlier today.

       As the Court is aware, in its December 5, 2019 Order on Plaintiff’s motion
 requesting both a TRO and a preliminary injunction, the Court ordered as follows:

              IT IS on this 5th day of December, 2019, ORDERED that on the
       6th day of Jan[uary], . . . Defendants shall show cause before the
       Honorable Kevin McNulty, U.S.D.J. . . . , why a preliminary
       injunction should not be entered . . . .

             IT IS FURTHER ORDERD that counsel for the parties shall,
       within 5 days, arrange a conference with the Magistrate Judge to set
       up a discovery schedule in advance of the hearing.

 DE 113 at 2, 4 (emphasis added). In its Order, this Court specifically excluded
 (with large chunks of blank space) many portions of Plaintiff’s proposed order,
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 including the following language which the Court rejected (by exclusion):
 “Pending further hearing on this Order to Show Cause, Defendants . . . are
 temporarily enjoined and restrained from transferring or using funds in the
 Checking Account and/or Brokerage Account, except to the extent Defendants
 can demonstrate to the Court a specific amount of funds that must be used for any
 legitimate Eonsmoke business purpose.” Compare Ex. A (attached herewith) at 3
 with DE 113 at 3 (large blank space); see also DE 111-4. Defendants reasonably
 concluded, therefore, that as of December 5, 2019 there was no TRO in place
 restricting their business or banking activities.

       As Plaintiff points out in their letter, during the December 18, 2019
 conference with the Magistrate Judge for the limited purpose of “set[ting] up a
 discovery schedule” (not re-considering a TRO or injunction) the Magistrate Judge
 made statements including that “[t]here better not be dissipating going on.” There
 has been no dissipating of assets by any Defendant and Defendants’ most recent
 financial reporting as required by the Order of this Court demonstrates this.

        Thereafter, this Court held a hearing on January 6, 2020, and entered its
 decision on February 13, 2020. See DE 160-61. In its reasoning, the Court stated
 (in part) that “the profits from the sale of allegedly infringing products was in the
 $400,000 to $500,000 range . . . [so] Juul’s request for an order freezing tens of
 millions of dollars would be far too broad a remedy.” DE 160 at 25. In its Order,
 this Court stated:

       [D]efendants will be subject to quarterly reporting to Magistrate Judge
       Hammer. The defendants shall immediately submit the latest
       statements of the Chase checking account xxx3070 and the Chase
       brokerage account xxx5906. Thereafter, defendants shall submit
       statements of the same accounts on a quarterly basis, beginning with
       the quarter ending March 31, 2020. Any new, separate, or substitute
       accounts shall be disclosed, and shall be subject to the same
       obligation.

 ECF No. 161 at 1 (emphasis added).

       Defendants submitted their first report on February 28, 2020. The report
 included the most recent statements from the two accounts identified in the Court’s
 Order, as well as from three other accounts (including Chase checking account
 xxxxx8799 (Eonsmoke LLC), Vanguard brokerage account xxxx6378 (Gregory
 Grishayev), and Vanguard brokerage account xxxx3314 (Michael Tolmach)). As
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 Defendants explained specifically in their report, “[t]he Vanguard accounts have
 been set up for more advantageous account management and investment income,
 including because of a disadvantageous change to the sweep program feature of
 Chase brokerage account xxxxx5096.” Id., Ex. 6 (attached thereto). The new
 Vanguard brokerage accounts simply replace and supplement the Chase
 brokerage account, for better returns. The nature of the accounts is unchanged.
 Finally, as Defendants also explained, the total assets available equal “60 times the
 maximum ‘profits from the sale of allegedly infringing products.’”

         There has been no violation of any Order of this Court, either in letter or in
 spirit. Plaintiff’s mischaracterizations in its letter are just that, as well as an
 improper attempt at reconsideration and rehearing. First, Plaintiff asserts that
 “Defendants made [] transfers while JLI’s motion to freeze assets was pending and
 shortly after the Court’s January 6, 2020 hearing on the motion.” But during that
 time (and still), there was no Court Order precluding Defendants from opening
 their new Vanguard accounts. Moreover, Defendants’ reason for opening those
 accounts was prudent. Second, Plaintiff asserts Defendants “failed to disclose to
 the Court or to JLI at the hearing—or at any time before February 28, 2020—that
 they were in the process of transferring [assets].” But Defendants had not made
 any decision about opening the Vanguard accounts by January 6, 2020. And again,
 there was no Court Order requiring Defendants to report or “disclose” their
 banking activities until February 13, 2020, which Defendants fully complied with
 on February 28, 2020.

         Third, Plaintiff asserts that because of its pending motion to amend, this
 Court was “wrong” when it concluded that “the profits from the sale of allegedly
 infringing products was in the $400,000 to $500,000 range.” DE 160 at 25. The
 Court was not wrong, for at least the reason that leave to file Plaintiff’s amended
 complaint has not been granted, nor should it be. Moreover, this Court specifically
 criticized Plaintiff for failing to identify any specific amount of alleged profits
 whatsoever “derived from the sale of products that purportedly infringe the Juul
 wordmark (the new claim added in the proposed Amended Complaint (DE 109-
 1).” See DE 160 at 8. Fourth and finally, Plaintiff mischaracterizes the
 undersigned counsel’s response to Plaintiff’s recent letter demanding concessions
 beyond this Court’s February 13, 2020 Order. The actual response stated as
 follows, in relevant part:

       Counsel--We received your letter but it is unreasonable to demand we
       drop everything else to respond to your letters immediately. . . .
       1--Our letter and attachments show all dates of account opening etc.
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       2--Our letter specifically explains the “reason” for the Vanguard
       accounts . . . .
       3--The main reason is these accounts did not exist.
       4--No.
       5--No. We will follow the letter and spirit of the Court’s Order,
       which created a reporting requirement for “Chase checking account
       xxx3070 and the Chase brokerage account xxx5906 [sic] . . . [and]
       any new, separate, or substitute accounts.” As you can see from our
       report, we included five accounts, not just the two specifically
       ordered.

 Ex. B. As is clear, Defendants are committed to following the letter and spirit of
 the Court’s Order.

        Based on the foregoing, Defendants respectfully request that this Court
 should deny the relief requested in Plaintiff’s letter. Particularly with respect to
 Items 2-3 of Plaintiff’s request, those requirements are in place already, and need
 not be the subject of further court orders. Specifically, that “the Vanguard
 accounts are de facto Eonsmoke business accounts” follows from the fact that the
 new Vanguard brokerage accounts simply replace and supplement the Chase
 brokerage account. Further, that “the Court’s requirement of quarterly financial
 statements applies to all of the accounts that Defendants have used to hold or
 transfer Eonsmoke assets, including (but not limited to) the new Vanguard
 accounts,” also is evident already because this Court’s February 13, 2020 Order
 already requires reporting of “[a]ny new, separate, or substitute accounts,” which
 these accounts are. No plausible argument can be made that a transfer of assets
 from one of the largest domestic financial institutions (Chase) to an even larger
 domestic financial institution (Vanguard) while disclosing that transfer is
 “dissipation”.

        If this Court is willing to take up pressing issues based on these letters from
 the parties, Defendants respectfully request that the Court also consider the
 following requested relief. First, Defendants respectfully request that this Court
 stay its February 13, 2020 Order (see DE 161) pending Defendants’ interlocutory
 appeal. See DE 171. Second, Defendants respectfully request that this Court
 reconsider one aspect of the recent March 2, 2020 discovery order directed at
 financial information concerning “each of Eonsmoke’s electronic nicotine delivery
 systems (“ENDS”) products in each of 2017, 2018, and 2019 . . . .” See DE 170 at
 2. The breadth of this portion of this Order goes far beyond this Court’s prior
 assessment of the relevant discovery in this action, as follows: “[T]he relevant time
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 period for purposes of disgorgement of profits is June 2018 through December
 2018 . . . the relevant profits for the specific 4X PODS profits at issue from June
 2018 through December 2018 . . . .” DE 160 at 25.

       We respectfully thank this Court for its consideration.

                                               Respectfully Yours,

                                               SML Avvocati P.C.

                                               /s/ Stephen M. Lobbin

 cc: All Counsel (via ECF)
